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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                                      CASE NO.: 0:16cv62201

  RACHAEL STORM,

           Plaintiff,

  v.

  CREDENCE RESOURCE MANAGEMENT,
  LLC.,

        Defendant.
  _______________________________________/

                             NOTICE OF PENDING SETTLEMENT

           Plaintiff, RACHAEL STORM, by and through undersigned counsel, hereby submits this

  Notice of Pending Settlement and states the parties have reached a settlement with regard to this

  case and are presently drafting, finalizing, and executing the formal settlement documents. Upon

  full execution of the same, the parties will file the appropriate dismissal documents with the

  Court.

  Dated: November 15, 2016                           Respectfully Submitted,

                                                    /s/ Jibrael S. Hindi
                                                   JIBRAEL S. HINDI, ESQ.
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                                                   COUNSEL FOR PLAINTIFF
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on November 15, 2016, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF. I also certify that the foregoing document is

  being served this day on all counsel either via transmission of Notices of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are

  not authorized to receive electronically Notices of Electronic Filing.



                                                     /s/ Jibrael S. Hindi
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